    Case 2:16-mj-06044-SCM Document 34 Filed 10/25/16 Page 1 of 3 PageID: 77

                                Anthony R. Gualano, Esq.
                                      Attorney At Law
                                          P.O. Box 414
                                     McAfee, New Jersey 07428
                                          (201) 400-9512
                                     Facsimile (973) 827-1899
Certified Criminal Trial Attorney                                            Office Address
(Admitted in NJ, PA, & DC)                                                549 Summit Avenue
(Admitted U.S. Supreme Court)                                        Jersey City, New Jersey 07306
Attorney ID#022061989                                                  agualanolaw@gmail.com


                                          October 25, 2016


E-Filed
Hon. Madeline Cox Arleo, U.S.D.J.
United States District Court of New Jersey
M.L. King, Jr. Federal Buildig & U.S. Courthouse
50 Walnut Street, Courtroom 2060
Newark, New Jersey 07102

          Re: United States of America v. Harpreet Sachdeva
              Criminal No.: 16-6044

Dear Judge Cox Arleo:

       Attached please find the Consent Order signed by Assistant United States Attorney
Dennis Carletta, Esq. modifying my client's bail in the above-captioned. Kindly sign the
Order and file same with the Clerk. Naturally, if Your Honor has any questions, then
please feel free to have your staff contact me at your convenience.

          Thank you.



                                    cR..  pe:=:::t
                                      Anthony R. Gualano, Esq.




Cc: Dennis C. Carletta, AUSA (via email only)
    Ms. Barbara Hutchinson, PTS Officer and Pre-Trial Services (via email only)
    Mr. Harpreet Sachdeva (via email only)
Case 2:16-mj-06044-SCM Document 34 Filed 10/25/16 Page 2 of 3 PageID: 78




                           UNITED STATES DISTRICT COURT
                              nISTRICT OF NEW .JERSEY


UNITED STATES OF AMERICA


             v.                                      CRIMINAL     NO. 16-6044

                                                     CONSENT ORDER
                                              AMENDING HOME INCARCERATION
Harpreet Sachdeva



       THIS MATTER, having been opened to this Honorahle Court, the Honorable
Madeline Cox Arlee, Magistrate Judge of the United States District Court of New Jersey,
on the application of Anthony R, Guulano, Esq., appearing for the Defendant, Harpreet
Sachdeva, for an Order amending Defendant's bail, in particulnr, the conditions of
Defendant's Home Incarceration   with Location Monitoring;

       And upon the representation of Counsel for Defendant, Anthony R. Gualano, Esq.,
that he has communicated with and obtained the Consent of Pre-Trial Services Officer
Barbara Hutchinson to amend the terms of Defendant's Home Incarceration     to permit
Defendant to leave his home between the hours of 7:00 a.m. and 7:00 p.m. subject to
Location Monitoring;

       And Assistant U.S. Attorney Dennis C. Carletta, on behalf of the United States of
America, consenting to amend Defendant's Home Incarceration to allow Defendant to leave
his home between the hours of 7:00 a.m, and 7:00 p.m.;

       IT IS ON THIS         DAY OF                       2016,

        ORDERED that Defendant, Hurprcet Suchdevu, shall be permitted to leave Home
Incarceration between 7:00 u.m, and 7:00 p.m. daily, subject to Location Monitoring; and

       IT IS ORDERED that all other conditions of bail not modified by this Order shall
remain in effect and undisturbed pending the sentence of Defendant on .January 12,2017.


                                                 Honorable Madeline Cox Arico
                                                 United States Magistrate Judge



                                                 Madeline Cox Arleo, U.S.M.J.
Case 2:16-mj-06044-SCM Document 34 Filed 10/25/16 Page 3 of 3 PageID: 79




I hereby     :o}y>cn t tu the
            I~ellt and Entrv of the Order




Den/lis    .'. Carlctta,Asst. 'U.S. Attornev
On (Jeh"lf nf th c I ln ired Stat" of Am erica
